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    8                          UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
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   11   JAMAL REHMAN, et al.                    )     Case No.: CV 16-8413 DSF (JEMx)
                                                )
   12                Plaintiffs,                )
                                                )
   13          v.                               )    JUDGMENT
                                                )
   14   FINGERHUT and all Bluestem              )
        companies,                              )
   15                                           )
                     Defendants.                )
   16                                           )
        ____________________________
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   18          The Court having ordered that the case be dismissed by consent of the
   19   plaintiffs as evidenced by lack of opposition to a motion to dismiss,
   20   IT IS ORDERED AND ADJUDGED that the plaintiffs take nothing and that the
   21   action be dismissed.
   22              12/13/16
        Dated: _________________                     ____________________________
   23                                                       Dale S. Fischer
                                                       United States District Judge
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